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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

    ELIZABETH SINES, et al.,

                        Plaintiffs,                        No. 3:17-cv-00072-NKM

       v.                                                  JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                        Defendants.

      DEFENDANTS DAVID MATTHEW PARROTT, MATTHEW HEIMBACH, AND
    TRADITIONALIST WORKER PARTY’S REPLY TO PLAINTIFFS’ OPPOSITION TO
    THEIR MOTION FOR RECONSIDERATION REGARDING THE HEAPHY REPORT

            Despite Plaintiffs’ 12-page opposition brief filed the day after the instant Motion was

   submitted (made possible, of course, by the virtually unlimited manpower and resources at

   Plaintiffs’ disposal), this Court has absolute discretion to reconsider its prior ruling here. Nothing

   Plaintiffs could possibly cite changes that.

            The Court also indicated, during its October 18, 2021 hearing, that the undersigned could

   submit this Motion in order to raise an issue unconsidered by the Court regarding a key piece of

   evidence in this litigation (one that is far more probative than anything Plaintiffs could possibly

   offer about what actually and proximately led to their injuries, yet which, almost paradoxically,

   they want to hide from the jury): The Heaphy Report. No counsel for other Defendants, nor any

   pro se Defendants, appear to have raised this issue.

            The undersigned, having entered into this four-year, 1,300-plus docket entry behemoth of

   a litigation only six weeks ago, is diligently working to get up to speed in time for trial; in the

   hearing, the Court recognized this, and indicated that it would be acceptable for the undersigned
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   to file a basic written motion (such that the opposition was noticed, so that the Court would even

   have the authority to hear the issue) and then supplement that with argument and citations by

   way of oral argument. That is what he is doing here; the Court should not entertain Plaintiffs’

   litany of lame, cheap excuses for why it should refuse to consider admitting the Heaphy Report

   — an extraordinary document, created in extraordinary circumstances, and possessing

   extraordinary indicia of trustworthiness and reliability — under the most obviously applicable

   exception to the hearsay rule here, which is the Rule 807 residual exception.1

          The undersigned talks much, much faster than he is able to write, and he certainly does

   not mind if such oral argument is transcribed verbatim (which already is being done for such

   hearings, anyway) and simply attached to the Motion in place of his written argument. He also

   does not mind if Plaintiffs’ counsel wishes to respond to such oral argument with a written reply

   (in addition to its own oral argument) so that they can get in “the last word” on the issue. (The

   undersigned knows how much Plaintiffs’ counsel likes that.)


   1       While there are some plausible textual arguments that can be made (although apparently
   were not) regarding the public records exception — e.g., “statement” by the City of
   Charlottesville occurred when they voluntarily made the Report public despite having no legal
   obligation to do so; Federal Rule of Evidence 803(8)(A)(ii) does not exclude from the scope of
   the exception “statements of a public office” (such as the police department, through its officers)
   where it sets out “a matter observed [by law enforcement personnel] while under a legal duty to
   report (remember, the Report verified that the City of Charlottesville promised unfettered access
   and full cooperation, presumably meaning that its employees were, at least from that moment
   forward, under a “legal duty to report” regarding anything Heaphy asked them, and could
   lawfully be terminated for refusing to do so); the investigation was “legally authorized” because
   the City of Charlottesville authorized it, paid for it, and published the accompanying 212-page
   Report once it was completed — the undersigned believes that the residual exception of Rule
   807, to which the Heaphy Report applies in a much more direct and straightforward way, is far
   more relevant and appropriate here. The Court need not split hairs with Rule 803(8) when Rule
   807 already provides both the authority for admitting the report into evidence, as well as the
   public policy basis (i.e., its extraordinary character, in every way demanded by the text of the
   Rule and cases interpreting it) for doing so.


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                                             Respectfully submitted,




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   Dated: October 22, 2021




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on October 22, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on October 22, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

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          I hereby further certify that on October 22, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

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